
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1276-07






TOMMY G. LASTER, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE SECOND COURT OF APPEALS


TARRANT COUNTY





	Cochran, J., filed a dissenting opinion in which Price, Johnson and
Holcomb, JJ., joined.


OPINION 



	I respectfully dissent.  I do not agree with the majority of the court of appeals (1) that a
rational trier of fact could conclude from the evidence in this case, beyond a reasonable
doubt, that appellant (1) had a specific intent to hold or secrete eight-year-old Beatrice in a
place where she was unlikely to be found, much less (2) had a specific intent to perform one
of the other acts-such as holding her for ransom, using her as a shield, inflicting bodily injury
on her or abusing her sexually-that is required for aggravated kidnapping.  This is not an
attempted kidnapping case.  And it is certainly not an attempted aggravated kidnapping case. 
This is an unlawful restraint case. (2)

I.

	A person commits unlawful restraint "if he intentionally or knowingly restrains
another person." (3)  Restrain means "to restrict a person's movements without consent, so as
to interfere substantially with the person's liberty, by moving the person from one place to
another or by confining the person." (4)  Restraint is "without consent" if "the victim is a child
who is less than 14 years of age" and "the parent, guardian, or person or institution acting in
loco parentis has not acquiesced in the movement or confinement." (5)

	A person commits kidnapping if he "intentionally or knowingly abducts another
person." (6)  Abduct means "to restrain a person with intent to prevent his liberation by: (A)
secreting or holding him in a place where he is not likely to be found; or (B) using or
threatening to use deadly force." (7)  As noted by the majority, the offense of kidnapping is
legally completed when the defendant, at any time during the restraint, forms the intent to
prevent liberation by secreting or holding another in a place unlikely to be found.	

	A person commits aggravated kidnapping if he abducts another person with a further
or second specific intent to 

	(1)	hold him for ransom or reward;

	(2) 	use him as a shield or hostage;

	(3)	facilitate the commission of a felony or the flight after the attempt or
commission of a felony;

	(4) 	inflict bodily injury on him or violate or abuse him sexually;

	(5) 	terrorize him or a third person; or

	(6)	interfere with the performance of any governmental or political function. (8)


	A person commits the crime of attempted aggravated kidnapping only if, acting with
the specific intent both to abduct another person and to hold her for one of the six purposes
set out above, he does an act-such as grabbing a child-that amounts to more than mere
preparation and that tends, but fails, to effect the commission of the aggravated kidnapping. (9) 

	But not every grabbing or illegal restraint of a stranger-child or adult-evinces an
intent to kidnap. (10)  And certainly not every grabbing of a stranger evinces an intent to hold
her for ransom, use her as a shield, facilitate the commission of some felony, inflict bodily
injury, sexually abuse her or commit one of the other enumerated acts as is required for
attempted aggravated kidnapping. (11)  Because criminal attempt is an inchoate crime, one that
has not actually occurred, the defendant's acts, words, and the attendant circumstances of the
attempt should be "strongly corroborative of the actor's criminal purpose." (12)  Inchoate crimes
balance  the goals of law enforcement with the liberty rights of citizens by ensuring that law
enforcement may intervene to prevent crime, but only after the actor has formed a specific
criminal purpose and has engaged in adequate conduct in furtherance of that specific intent
to demonstrate that, if left to his own devices, the attempted crime would likely occur. (13)

	Some felonies cannot be committed without some restraint of the victim. This Court
has stated that the "Legislature did not intend for every crime which involves a victim whose
liberty has been interfered with to turn into a kidnapping. It is up to the jury to distinguish
between those situations in which a substantial interference with the victim's liberty has
taken place and those situations in which a slight interference has taken place." (14)  Courts in
other jurisdictions have repeatedly recognized that restraint simply incident to other crimes
does not support a separate conviction for kidnapping or aggravated kidnapping. (15) 

II.

	In this case it is undisputed that, at 10:00 a.m., on a Sunday morning, on the sidewalk
of a busy street in Fort Worth, appellant grabbed at eight-year-old Beatrice, who, with her
ten-year-old brother Raymond, was on the way home after a trip to the store.   Raymond had
ridden his bike to the store, with Beatrice standing on the back wheel pegs; Beatrice was
either riding or walking the bike on their way home. (16)  Appellant grabbed her with one hand
around the waist, while not himself letting go of the big, red-and-white golf umbrella he was
carrying.  She screamed, her brother pulled her back toward him and gave appellant a shove,
and appellant let her go a few seconds later when a car drove by and its driver honked his
horn.  Raymond grabbed the bike, and they both ran home.  Appellant walked down the street
toward the store, and then he stayed in the neighborhood all day, as if nothing had occurred. (17) 
Beatrice and Raymond testified that they thought appellant was trying to take Beatrice. (18) 
Appellant later told the police that voices in his head "started telling me that I would be better
off dead."  Then the voices told him to "grab the little girl." (19)  Appellant had a crack cocaine
pipe in his pocket when he was arrested, and the arresting officer thought he was acting
"strange," possibly due "to him inducing an illegal narcotic."

	Even with fully crediting the testimony of Beatrice and her brother, who were
understandably terrified by their encounter with this most peculiar stranger, and discrediting
appellant's version, I am nevertheless left with only speculation about what appellant's actual
intentions were.  Maybe they were nefarious; certainly the children believed that they were. 
Maybe he intended to secret or hold Beatrice in a place where she would not likely to be
found just for "kicks" or because "the voices" told him to.  Or maybe (as the jury here found)
he intended to secret or hold her in such a place with a second, "aggravated intent," to hold
her for the purpose of ransom, or use as a hostage, or to facilitate the commission of a felony
such as assault, sexual assault or terrorize her or her brother or mother. (20)  Maybe he intended,
as the dissent in the court of appeals noted, "to fondle her on the scene, to rape her on the
scene, or to steal her bicycle." (21)  None of these acts required an intent to abduct Beatrice. 
Maybe appellant's intentions were not nefarious. Maybe he wanted to put Beatrice on his
shoulders or simply grab her and move her out of his way.  Maybe he simply intended to
follow "the voices" in his head, whatever they told him.  But evidence of his intent to do any
one of these things is lacking.  What we do know is that he intentionally "restrained" Beatrice
by grabbing her around the waist, albeit only for a few seconds. (22)  And that restraint was, as
a matter of law, without consent because Beatrice was less than fourteen years of age and her
mother, who was waiting at home to make pancakes for her children, had not "acquiesced
in the movement or confinement." (23)

	In this case, assuming appellant had the intent to commit rape or some other felony,
it would be up the jury to distinguish between whether a substantial interference with the
victim's liberty was intended, or just a slight interference.  Here, the jury could only
speculate which, and, of course, there is no evidence of intent to commit such a felony in the
first place. (24)

	The majority points to Fann v. State, (25) and Megas v. State (26) as cases in which courts
have held that a rational factfinder may infer an intent to secret or hold a person in a place
where that person is unlikely to be found when a defendant isolates a person from anyone
who might be of assistance.  Indeed, that is true, but in those cases, the defendant had
actually performed the act of isolating the victim from others.  In Fann, the evidence showed 

	that the victim of the kidnapping, a sixteen month old infant, along with her
mother, was abducted sometime after 9:00 p.m. while visiting the grave of a
deceased brother. They were forcibly driven away from the cemetery and
around other parts of the city. The evidence reveals a constantly shifting path
throughout the City of Irving. The victims were taken some distance from the
area in which they might reasonably have been found and were kept isolated
from anyone who might have been of assistance. They were later returned to
the cemetery by appellant. (27)

Faced with that evidence, we held "that this forcible removal [of the victims] against their
will and the taking of them to some other, unknown places was sufficient for the jury to
conclude that the offense was committed as charged to them in the court's instructions, and
is sufficient to support their verdict." (28)

	In Megas v. State, the evidence was similarly concrete:

	Linda Tyler observed appellant holding onto Tanner with one hand while
beating her with the other. Tyler also saw Tanner running away from the car
and attempting to jump over the barricade. When Tyler pulled over to render
aid and began honking her horn, appellant stopped hitting Tanner, dragged her
into the car, and drove away.  (29) 

The First Court of Appeals held that, from this evidence, a jury could infer that Tanner was
attempting to escape, and that appellant substantially interfered with her liberty by assaulting
her and forcing her back into the car." (30)

	In this case there is no such evidence of an intent to isolate.  There was no car waiting
around the corner. (31)  There were no ropes in Laster's pocket.  He did not even use both
hands.  He did not spring out from some hiding place to grab Beatrice. (32)  He did not state any
intention. (33)  His conduct-except for grabbing Beatrice around the waist-was wholly
ambiguous as to his possible future intent. (34)  As the California Supreme Court once noted,

	The reason for requiring evidence of a direct act, however slight, toward
consummation of the intended crime, is . . . that in the majority of cases up to
that time the conduct of the defendant, consisting merely of acts of
preparation, has never ceased to be equivocal. . . . [S]o long as the equivocal
quality remains, no one can say with certainty what the intent of the defendant
is. (35)

	Oftentimes facts do speak for themselves.  But with the offense of criminal attempt,
the established facts must be highly indicative of the defendant's intent to commit a specific
crime. (36)  These facts, even viewed in the light most generously and favorably to the State, are
fatally equivocal and ambiguous. (37)  I conclude that no rational juror could find, beyond a
reasonable doubt, that, at the moment appellant grabbed Beatrice, he had the specific intent
to secrete or hold her in a place where she was unlikely to be found.  (38) 

	I would reverse the judgment of the court of appeals, modify the trial court's
conviction from an attempted aggravated kidnapping to one for unlawful restraint, and
remand the case for a new punishment hearing. (39)  The jury was charged on the lesser-included offense of unlawful restraint, and the evidence is clearly sufficient to support it. (40)

Filed: January 14, 2009

Publish
1.  Laster v. State, 229 S.W.3d 788 (Tex. App.--Fort Worth 2007).
2.  Appellant was also convicted for injury to a child and sentenced to twenty years
imprisonment for that offense.  Appellant did not appeal that conviction.
3.  Tex. Penal Code § 20.02(a).
4.  Tex. Penal Code § 20.01(1).
5.  Tex. Penal Code § 20.01(1)(B)(i).
6.  Tex. Penal Code § 20.03(a).
7.  Tex. Penal Code § 20.01(2).
8.  Tex. Penal Code § 20.04(a).
9.  Tex. Penal Code § 15.01(a).
10.  See Vandiver v. State, 261 P.2d 617, 624 (Okla. Crim. App. 1953) (overruled on other
grounds) ("Would the mere fact that the defendant took Mrs. Bridges in his arms and was
therefore guilty of assault, force the conclusion ipso facto that he was going to kidnap her, (which
means to take secretly, confine her against her will) any more than that he was going to murder
her there on the spot, or take her for a wild ride in his car, or just sit with her in the car? There
was no evidence direct or circumstantial of what the intentions of the defendant were beyond
holding Mrs. Bridges in his arms, other than his statement that he asked her to go get a bottle of
beer. There are many possible ideas that may have been in his mind. But more than speculation is
required. We have sought in vain for evidence to support the judgment, but there is no evidence
or circumstances to support the judgment or the conclusion or guess advanced by the Attorney
General, which we have heretofore quoted.  The law will not presume an intention beyond that
realized by the act.").
11.  "The word 'attempt' means to try; it implies an effort to bring about a desired result. 
Hence an attempt to commit any crime requires a specific intent to commit that particular
offense.  If other elements of an attempt are established 'intent is the crucial question.'"  Rollin
M. Perkins &amp; Ronald N. Boyce, Criminal Law 637 (3d ed. 1982) (footnotes omitted).  See
also Wayne R. LaFave,  Substantive Criminal Law § 11.3(a) at 213 &amp; n.25 (2nd ed. 2003) 
("It is not enough to show that the defendant intended to do some unspecified criminal act.")
(citing In re Smith, 474 P.2nd 969 (Cal. 1970), with a parenthetical stating "where defendant
convicted of attempted kidnapping on evidence that he grabbed woman, brandished screwdriver,
and said they were going in her car, which he attempted to open, effective counsel might well
have argued that this did not show intent to kidnap as opposed to intent to rape or to steal").
12.  Model Penal Code § 5.01(2).  Section (2) states that "Conduct shall not be held to
constitute a substantial step . . . unless it is strongly corroborative of the actor's criminal purpose.
Without negativing the sufficiency of other conduct, the following, if strongly corroborative of
the actor's criminal purpose, shall not be held insufficient as a matter of law: (a) lying in wait,
searching for or following the contemplated victim of the crime; (b) enticing or seeking to entice
the contemplated victim of the crime to go to the place contemplated for its commission; (c)
reconnoitering the place contemplated for the commission of the crime; (d) unlawful entry of a
structure, vehicle or enclosure in which it is contemplated that the crime will be committed; (e)
possession of materials to be employed in the commission of the crime, that are specially
designed for such unlawful use or that can serve no lawful purpose of the actor under the
circumstances; (f) possession, collection or fabrication of materials to be employed in the
commission of the crime, at or near the place contemplated for its commission, if such
possession, collection or fabrication serves no lawful purpose of the actor under the
circumstances; (g) soliciting an innocent agent to engage in conduct constituting an element of
the crime."

	 LaFave notes that along with the Model Penal Code approach-courts and legislatures
have adopted 1) the "proximity approach,"  (was the act sufficiently proximate to the intended
crime? i.e.,  a last proximate act, an indispensable act, or a physically proximate act?); 2) the
"probable desistance approach," (was the act one which in the ordinary course of events would
result in the commission of the target crime except for the intervention of some extraneous
factor? i.e., an act beyond which a normal citizen would stop) and 3) the "equivocality approach"
or "res ipsa loquitur test" (was the act of such a nature that it is itself evidence of the criminal
intent with which it is done, i.e., an act that bears criminal intent on its face, an act that can have
no other purpose than the commission of that specific crime).  LaFave,  Substantive Criminal
Law § 11.4 at 224-25. 
13.  See ALI, Model Penal Code Commentaries § 5.01 at 294 (1985) (laws covering
inchoate crimes 1) provide a legal basis for intervention of law enforcement to prevent
consummation of a crime; 2) subject actors generally disposed towards criminal activity to the
corrective process that law provides; 3) capture actors who fail to commit the substantive offense
due to a fortuity).  See also LaFave,  Substantive Criminal Law § 11.4 at 208-10 ("the law of
attempts exists because there is just as much need to stop, deter and reform a person who has
unsuccessfully attempted or is attempting to commit a crime that one who has already committed
such an offense."  Otherwise, "exculpation of those who fail due to a fortuity 'would involve
inequality of treatment that would shock the common sense of justice.'").
14.  Hines v. State, 75 S.W.3d 444, 448 (Tex. Crim. App. 2002) (nothing in the kidnapping
statute indicates that the Legislature intended "to bar the prosecution of a kidnapping that is part
and parcel of another offense" so long as there is a restriction of a person's movements so as to
interfere substantially with the person's liberty).  Herrin v. State, 125 S.W.3d 436, 440-441 (Tex.
Crim. App. 2002) (kidnapping, or attempted kidnapping not proven when defendant "did not
shoot to merely disable or harm Wayne so that he could then abduct him, but shot him at close
range in the vital organs in an obvious effort to kill him. In light of appellant's intent to murder
Wayne, appellant's moving of Wayne's body after the shooting did not amount to evidence that
Wayne was in the course of a kidnapping when the murder took place.") (citing Urbano v. State,
837 S.W.2d 114, 116 (Tex. Crim. App. 1992) ("proof beyond a reasonable doubt" carries
considerable weight; it means proof to a high degree of certainty)).
15.  See State v. Salamon, 949 A.2d 1092, 1119-20 (Conn. 2008) ("[A] considerable
majority of state courts have followed the lead of New York and California in concluding that the
crime of kidnapping does not include conduct involving a restraint that is merely incidental to the
commission of some other crime against the victim.  . . .  Although these cases involve varying
statutory language and analyses, they share a common theme, namely, that it is unlikely that the
legislature intended to expose an accused to a kidnapping conviction, and the severe sanctions
accompanying such a conviction, when the restraint involved is merely incidental to the
commission of a separate, underlying crime. Indeed, this majority view regarding the
construction of statutes delineating the crime of kidnapping rightly has been characterized as the
'modern' approach.") (citing cases from numerous jurisdictions).
16.  Both children made statements that Beatrice was riding the bike, and that appellant
almost knocked her off of it.  But then they testified that Beatrice was walking the bike, and that
appellant grabbed her, causing her to let go of the bike which then fell against a fence. Either
way, the bike never hit the ground, and the children completed their trip home with the bike.
17.  In his statement, appellant said that his sister had dropped him off at the Whataburger
on East Lancaster Street.  "I have her drop me off there every Saturday and Sunday so I can walk
to the store and buy cigarettes or anything else I need before I walk to my brother's house.  My
brother, Samuel John Laster, lives in some apartments on Beach Street by Vicker."  Appellant's
sister testified at the punishment stage that appellant stayed in his room at her home five days a
week, but that "I physically take him every Saturday and Sunday for the past three or four years, I
drop him off at Whataburger on Lancaster, nonstop, unless it gets snow out on the ground and he
just-it's just way too cold for him, this is nonstop I do this."  "He stays until 3:00,
approximately."  She said that appellant was "on and off" his medicine.  Taking that medicine is
a prerequisite to appellant being allowed to live with her, but shortly before this incident,
appellant quit taking it.
18.  Raymond testified that appellant grabbed Beatrice, then, when the car honked, "he just
immediately let go."  Raymond was upset and crying because "he could have kidnapped her." 
Beatrice testified that appellant grabbed her and hurt her, that this was "offensive" to her and
scared her, and that she thought he was going to take her.  Both children testified that he did not
take her anywhere or say anything.
19.  The jury was told during opening statements that appellant "has a 40-year history of
mental illness going back to the 1960s."  Appellant filed a notice of the insanity defense, but
apparently abandoned this defense during trial.  Although the jury did not hear any evidence of
appellant's mental illness during the guilt stage, it was admitted during the punishment hearing
before the judge.  Various mental health exhibits contained diagnoses of schizophrenia and
reports of "hearing voices" dating back several years before this offense.  These exhibits also
noted appellant's rough appearance, his poor hygiene, and bad grooming. These records, dating
back to 1969, included some documents from state hospitals to which appellant had been
admitted when he was a child.  His sister testified at punishment that appellant was on Social
Security disability for several reasons:  "Schizophrenic, manic depressant, can hardly hear, back
problems, and I can't think of the fifth one."  The only evidence contained in the record
suggesting that appellant was interested in young girls was a conclusory hearsay report from Big
Spring State Hospital, made when appellant was 14 years old, that said he had "a history of
compulsive aggressive sexual acting out toward girls his own age and younger."  
20.  Strangely, appellant did not specifically challenge the sufficiency of evidence to prove
this second, aggravated, intent on appeal, but it is, nonetheless, a required element for conviction.
21.  Laster, 229 S.W.3d at 795 (Dauphinot, J., dissenting).
22.  The most famous historical test for assessing the sufficiency of evidence to establish an
attempt is the so-called "stop the film" test:
	If the example may be permitted, it is as though a cinematograph film, which has
so far depicted merely the accused person's acts without stating what was his
intention, had been suddenly stopped, and the audience were asked to say to what
end those acts were directed. If there is only one reasonable answer to this
question then the accused has done what amounts to an "attempt" to attain that
end. If there is more than one reasonably possible answer, then the accused has
not yet done enough.

J.W.C. Turner, Attempts to Commit Crimes, 5 Cambridge L. J. 120, 237-38 (1934); see Hamiel v.
State, 285 N.W.2d 639, 645  (Wis. 1979) (quoting Turner and stating that "in the crime of
attempt, it is primarily the acts of the accused which provide evidence of the requisite mental
intent. The acts of the accused committed in furtherance of the intended substantive crime '. . .
must not be so few or of such an equivocal nature as to render doubtful the existence of the
requisite criminal intent.'").
23.  See Tex. Penal Code § 20.02(a).
24.  See e.g., Green v. State, 7 So. 326  (Miss. 1889).  In that case, the syllabus states,

	The appellant has been convicted of assault with intent to commit rape. The
prosecutrix testified that she was riding in the daytime alone and on horse-back along
the public road, about two miles from the town of Hazlehurst, when reaching a place
where the public road crosses the railroad, she noticed a negro man standing on the
crossing. Hearing a train approaching, she stopped and turned the horse's head
towards the man, thinking, as she says, that he could assist her if the train frightened
her horse. After riding two or three hundred yards beyond the crossing, she noticed
that the man was following her on foot, evidently having traveled briskly, and she
had ridden but little further when he came hurriedly up behind her and caught her
riding-skirt. She immediately uttered an outcry and urged on her horse, and the man,
without having spoken, fled in another direction. The prosecutrix on the trial
identified the defendant. This was all the evidence. The jury convicted the accused.
He moved for a new trial because of the insufficiency of the evidence, and the motion
being overruled, appeals. . . . 

		The evidence is insufficient to support the verdict of the jury. We may
conjecture the purpose of the defendant to have been to commit a rape, but, on the
facts disclosed, it is conjecture only, and not an inference reasonably drawn from the
evidence. The probabilities may be greater that a rape was intended rather than
robbery or murder; but mere probability of guilt of a particular crime, and that, too,
springing more from instinct than from proved facts, cannot support a verdict of
guilty.

		There is great danger of improper convictions in cases of this character, and,
while the court should not for that reason invade the province of the jury, the danger
admonishes us of the necessity of standing firmly upon the right and duty of proper
supervision and control of them.	

Id. at 326.
25.  Fann v. State, 696 S.W.2d 575, 576 (Tex. Crim. App. 1985).
26.  Megas v. State, 68 S.W.3d 234, 240 (Tex. App.--Houston [1st Dist.] 2002, pet. ref'd)
27.  696 S.W.2d at 576.
28.  Id. 
29.  68 S.W.3d at 239.
30.  Id.
31.  People v. Fields, 56 Cal. App. 3d 954, 956 (Cal. Ct. App. 1976) ("Where, as here, a
strange man seizes the person of a young girl on a residential street and orders her to get into a
vehicle whose motor is running, the specific intent and the affirmative act required to constitute
the crime of attempted kidnaping are adequately manifested.").
32.  See People v. Lamkey, 608 N.E.2d 406, 409-10 (Ill. Ct. App. 1992) (the defendant
jumped out of a doorway to grab a ten-year-old girl walking home from school, pulled her into a
hallway, pushed her against the wall, and sexually assaulted her; nevertheless, aggravated
kidnapping conviction reversed, in part because crime occurred "in the vestibule of a building
located only a couple of steps away from one of the busiest thoroughfares in Chicago," and
defendant "remained within public view in the vestibule in an area clearly visible to anyone
walking or driving down the street.").
33.  See People v. Cruz, 296 A.D.2d 22, 25 (N.Y. App. Div. 2002) (evidence sufficient to
support attempted kidnapping where defendant approached the five-year-old boy, told him, "I
want to take you home," and grabbed him, clearly indicating that his objective was abduction);
People v. Martinez, 973 P.2d 512, 523 (Cal. 1999) (attempted kidnapping of a person under the
age of 14 supported by evidence that "[W]hen the defendant grabbed Janet, he demanded she
take him to Ramona, who had escaped to an apartment complex located on the other side of a
parking area behind the house").
34.  I could find only one American case in which, under facts similar to these, a court
upheld an attempted kidnapping conviction against a claim that the conviction was obtained
against the overwhelming weight of the evidence. In Hersick v. State, 904 So.2d 116 (Miss.
2004), the evidence showed that

	An eleven-year old girl and her eight-year-old brother finished shopping at the
Wal-Mart in Lucedale and raced to the nearby Winn-Dixie where their parents were
grocery shopping. Larry Hersick, a transient, was sitting outside the Wal-Mart on a
block of concrete. As the children raced past Hersick, he grabbed the girl by her
upper right arm and pulled her a distance of about five to ten feet into the parking lot.
The girl jerked away from Hersick and ran to the Winn-Dixie with her brother.

		The girl's father called the police, who rushed to the Wal-Mart to find
Hersick still sitting on the block of concrete. Hersick was arrested, indicted, tried and
convicted of attempted kidnaping, and sentenced to ten years' imprisonment.

Id. at 120. The legal analysis by the Supreme Court of Mississippi was contained in one sentence: 
"Accepting as true all the evidence in this case which supports the conviction, we are unable to say
that the conviction was against the overwhelming weight of evidence. This claim is therefore without
merit." Id. at 127.  This analysis is too succinct to be useful.
35.  People v. Miller, 42 P.2d 308, 310 (Cal. 1935).
36.  See, e.g, United States v. Cruz-Jiminez, 977 F.2d 95, 101-02 (3d Cir. 1992) (stating that
many federal courts of appeals have held that in order to support an attempt conviction "the
prosecution must prove: (1) the intent, or kind of culpability otherwise required, to engage in the
criminal conduct; and (2) conduct constituting a 'substantial step' toward commission of the
substantive offense that strongly corroborates the criminal intent"); United States v. Oviedo, 525
F.2d 881, 884-85 (5th Cir. 1976) ("When the question before the court is whether certain conduct
constitutes mere preparation which is not punishable, or an attempt which is, the possibility of
error is mitigated by the requirement that the objective acts of the defendant evidence
commitment to the criminal venture and corroborate the mens rea. To the extent that this
requirement is preserved it prevents the conviction of persons engaged in innocent acts on the
basis of a mens rea proved through speculative inferences, unreliable forms of testimony, and
past criminal conduct.") (internal citation omitted); United States v. Mandujano, 499 F.2d 370,
376 (5th Cir. 1974) (explaining that, to constitute criminal attempt,  "First, the defendant must
have been acting with the kind of culpability otherwise required for the commission of the crime
which he is charged with attempting. . . . Second, the defendant must have engaged in conduct
which constitutes a substantial step toward commission of the crime. A substantial step must be
conduct strongly corroborative of the firmness of the defendant's criminal intent.").
37.  The prosecutor argued to the jury that these facts did speak for themselves:  "there's
only a couple of reasons why a grown man would try to steal away a little girl, to physically
abuse her or sexually abuse her.  Those are two of the six or seven options of the intent that's
required in this case.  You can infer those, intent.  And that'll get you there."
38.  Defense counsel argued just that at his motion for directed verdict:

	[T]he State has failed to provide any proof or evidence that it was Mr. Laster's
intent to abduct the child.

		And if you'll recall, abduct has a very specific meaning under the purposes
of the kidnapping statute.  And that says that a person means to secrete or secret or
hold him in a place where he's not likely to be found . . . . There's been no
testimony to indicate that Mr. Laster had any specific intent to take this child
anywhere, let alone to a place where she couldn't be found.

Counsel added that "there's been no evidence presented by either, in the State's case or on any
kind of rebuttal, that would show that any of these aggravating factors were present."  Counsel
objected to the inclusion of the attempted aggravated kidnapping charge "on the basis that I do
not believe there's been sufficient evidence presented to warrant that charge."  He is correct
unless one accepts the prosecutor's proposition that, as a matter of law, there are only two
reasons why any grown man "would try to steal away a little girl."  I cannot accept that legal
proposition.
39.  I note that the State enhanced this offense with a prior conviction for aggravated
kidnapping with threats of deadly force.  If the facts underlying that prior conviction were even
vaguely similar to those in the present case, evidence of that former offense would surely have
been admissible and admitted in this case to establish appellant's intent.  See Plante v. State, 692
S.W.2d 487, 491-92 (Tex. Crim. App. 1985).
40.  Haynes v. State, __S.W.3d__ , No. PD-1923-06, 2008 Tex. Crim. App. LEXIS 569
(Tex. Crim. App. Apr. 30, 2008) ("an appellate court may in cases like this reform a judgment to
reflect a conviction for the lesser-included offense when that lesser-included offense was
submitted in the jury charge").



